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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Federal Trade Commission, et al.
                                         Plaintiff,
v.                                                         Case No.: 1:23−cv−03053
                                                           Honorable John F. Kness
Amgen Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 29, 2023:


        MINUTE entry before the Honorable John F. Kness: The motions of counsel
Jeffrey A. Lamken [132], Michael G. Pattillo [133], Jr., Mark W. Kelley [135], Alexandra
C. Eynon [136], and John S. Playforth [147] to appear pro hac vice are granted. Counsel
are directed to review LR 83.15(a) and to be prepared to designate local counsel. Mailed
notice(ef, )




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